Case 1:05-cr-10027-.]DT Document 23 Filed 08/25/05 Page 1 of 2 Page|D 26

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA

vs CR NO. 1:05~]0027-01-T

COLLIS PAUL LANCASTER, JR.

ORDER ON CHANGE OF PLEA
This cause came on to be heard on August 24, 2005, Assistant U. S. Attorney,
J ames W. Powell, appearing for the government, and the defendant appeared in person
and With counsel, M. Dianne Smothers, who was appointed
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts l and 2 of the lndictment.

This case has been set for sentencing on Wednesdav . November 16. 2005. at 8:45

The defendant is remanded to the custody of the United States Marshal.

@w/»A‘M

J S D. TODD
ED STATES DISTRICT JUDGE

DATE; Q‘/W}UV\§_/

IT IS SO ORDERED.

Thts document entered on the docket sheet ln compliance
with Rule 55 and!or 32(\)) FHCrP on '0-5

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable J ames Todd
US DISTRICT COURT

